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                                         Harris County Docket Sheet


2016-83965
COURT:          333rd
FILED DATE: 12/6/2016
CASE TYPE:          Debt/Contract - Consumer/DTPA

                                         SALAZAR, LUIS
                                      Attorney: CORONA, JESSE S.

                                                  vs.
                                  ALLSTATE TEXAS LLOYDS
                              Attorney: HIGGINS, ROGER D.



                                          Docket Sheet Entries
         Date           Comment




2016-83965                                                                        Page 1 of 1

333                                                                      1/16/2017 5:27:11 PM
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HCDistrictclerk.com             SALAZAR, LUIS vs. ALLSTATE TEXAS LLOYDS                                1/16/2017
                                Cause: 201683965    CDI: 7  Court: 333

APPEALS
No Appeals found.

COST STATMENTS
No Cost Statments found.

TRANSFERS
No Transfers found.

POST TRIAL WRITS
No Post Trial Writs found.

ABSTRACTS
No Abstracts found.

SETTINGS
No Settings found.

NOTICES
No Notices found.

SUMMARY
CASE DETAILS                                                 COURT DETAILS
File Date                12/6/2016                           Court        333rd

Case (Cause) Location    Civil Intake 1st Floor              Address      201 CAROLINE (Floor: 14)
                                                                          HOUSTON, TX 77002
Case (Cause) Status      Active - Civil
                                                                          Phone:7133686470
Case (Cause) Type        Debt/Contract - Consumer/DTPA
                                                             JudgeName    DARYL L. MOORE
Next/Last Setting Date   N/A
                                                             Court Type   Civil
Jury Fee Paid Date       12/6/2016



ACTIVE PARTIES
Name                                              Type                                       Post Attorney
                                                                                             Jdgm
SALAZAR, LUIS                                     PLAINTIFF - CIVIL                                  CORONA,
                                                                                                     JESSE S.
     THE CORONA LAW FIRM PLLC, HOUSTON, TX 77060

ALLSTATE TEXAS LLOYDS                             DEFENDANT - CIVIL                                  HIGGINS,
                                                                                                     ROGER D.
     C/O CT CORPORATION SYSTEM, DALLAS, TX 75201

SALAZAR, MARIA                                    PLAINTIFF - CIVIL                                  CORONA,
                                                                                                     JESSE S.
     THE CORONA LAW FIRM PLLC„ HOUSTON, TX 77060
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ALLSTATE TEXAS LLOYDS MAY BE SERVED BY REGISTERED AGENT
SERVING ITS REGISTERED AGENT
     1999 BRYAN STREET SUITE 900, DALLAS, TX 75201-3136



INACTIVE PARTIES
No inactive parties found.

JUDGMENT/EVENTS
Date  Description                                 Order Post Pgs Volume Filing                            Person
                                                  Signed Jdgm /Page Attorney                              Filing
1/13/2017 ANSWER ORIGINAL PETITION                                     0                 HIGGINS, ROGER D. ALLSTATE TEXAS
                                                                                                           LLOYDS
12/6/2016 JURY FEE PAID (TRCP 216)                                     0
12/6/2016 ORIGINAL PETITION                                            0                 CORONA, JESSE S. SALAZAR, LUIS



SERVICES
Type Status                  Instrument Person             Requested Issued Served Returned Received Tracking Deliver
                                                                                                              To
CITATION SERVICE       ORIGINAL ALLSTATE 12/6/2016                         12/12/2016 12/21/2016                 73320167 CIV
         RETURN/EXECUTED PETITION TEXAS                                                                                   AGCY-
                                  LLOYDS                                                                                  CIVILIAN
                                  MAY BE                                                                                  SERVICE
                                  SERVED BY                                                                               AGENCY
                                  SERVING ITS
                                  REGISTERED
                                  AGENT



DOCUMENTS
Number         Document                                                                              Post Date          Pgs
                                                                                                     Jdgm
73420632       Defendant Allstate Texas Lloyds's Original Answer to Plaintiffs' Original Petition         01/13/2017    2
73225691       Citation                                                                                   12/28/2016    2
73115909       Civil Process Pick-Up Form                                                                 12/12/2016    1
72984977       Plantiffs Original Petition                                                                12/06/2016    44
-> 72984978    Civil Case Information Sheet                                                               12/06/2016    1
      Case 4:17-cv-00191 Document 1-2 Filed in TXSD on 01/20/17 Page 4 of 26
                                                                                                    12/6/2016 4:01:50 PM
                                                                               Chris Daniel - District Clerk Harris County
                                                                                                 Envelope No. 14136494
                           2016-83965 / Court: 333                                                      By: Justina Lemon
                                                                                            Filed: 12/6/2016 4:01:50 PM

                                 CAUSE NO.


LUIS SALAZAR,                                               IN THE DISTRICT COURT
MARIA SALAZAR,

         Plaintiffs,

vs.                                                         HARRIS COUNTY, TEXAS

ALLSTATE TEXAS LLOYD'S,

         Defendant.                                                JUDICIAL DISTRICT


                                PLAINTIFFS' ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, LUIS SALAZAR and MARIA SALAZAR (the "SALAZARS" and/or

"Plaintiffs"), and complains of ALLSTATE TEXAS LLOYD'S ("ALLSTATE" and/or

"Defendant"). In support of such claims and causes of action, Plaintiffs respectfully show unto

this Honorable Court and Jury as follows:

                                 I. DISCOVERY CONTROL PLAN

         1.1     Discovery in this case should be conducted in accordance with a Level 3 tailored

discovery control plan pursuant to Texas Rule of Civil Procedure 190.4. Plaintiffs affirmatively

plead this suit is not governed by the expedited-actions process in Texas Rule of Civil Procedure

169, as Plaintiffs seek monetary relief over $100,000.

                                          II. PARTIES

         2.1     Plaintiffs, LUIS SALAZAR and MARIA SALAZAR, are residents of Harris

County, Texas.

         2.2     Defendant, ALLSTATE I EXAS LLOYD'S, is a foreign company engaged in the

business of insurance in this state. It may be served with process by serving its registered agent,

PLAINTIFFS' ORIGINAL PETITION                                                                  PAGE -1-
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CT Corporation System, by certified mail, return receipt requested, at 1999 Bryan Street, Suite

900, Dallas, Texas 75201-3136, or wherever it may be found. Plaintiffs request citation be

issued at this time.

                                III. JURISDICTION AND VENUE

        3.1     This Court has jurisdiction over this case in that the amount in controversy

exceeds the minimum jurisdictional limits of this Court.

        3.2     Venue is proper in Harris County, Texas, because all or a substantial part of the

events giving rise to the lawsuit occurred in this county, and the insured property that is the basis

of this lawsuit is located in Harris County, Texas.

                       IV. AGENCY AND RESPONDEAT SUPERIOR

        4.1     Whenever in this Petition it is alleged that Defendant did any act or thing, it is

meant that Defendant or its agents, officers, servants, employees, or representatives did such a

thing. It was also done with the full authorization or ratification of Defendant or done in the

normal routine, course and scope of the agency or employment of Defendant or its agents,

officers, servants, employees, or representatives.

                                 V. CONDITIONS PRECEDENT

        5.1     All conditions precedent to recovery have been perfoimed, waived, or have

occurred.

                        VI. FACTS APPLICABLE TO ALL COUNTS

        6.1 The SALAZARS are the owners of a Texas Homeowner's Policy number

929913658 issued by ALLSTATE (the "Policy").

        6.2     The SALAZARS own the insured property, which is specifically located at 19303

Gagelake Lane, Houston, Texas 77084 (the "Property").



PLAINTIFFS' ORIGINAL PETITION                                                                PAGE -2-
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         6.3   ALLSTATE, or its agent(s), sold the Policy, insuring and covering the Property

against damages from storm-related events, to Plaintiffs.

         6.4   On or about April 19, 2016, the SALAZARS experienced a storm(s) that damaged

the Property. In its track, the stotm(s) left behind widespread damage to the Property, Plaintiffs'

home.

         6.5   The SALAZARS timely submitted a claim to ALLSTATE. ALLSTAIE assigned

various adjusters to adjust the claim. However, ALLSTATE and its agents were not diligent in

investigating Plaintiffs' loss. ALLSTATE failed to timely and accurately investigate the covered

loss. ALLSTATE assigned claim number 0411803679 to the SALAZARS' claim.

         6.6   Ultimately, ALLSTATE, inspected the SALAZARS' property after the storm(s).

During the inspection, ALLSTATE, was tasked with the responsibility of conducting a thorough

and reasonable investigation of the SALAZARS' claim, including determining the cause of, and

then quantifying the damage done to the SALAZARS' home.

         6.7   ALLSTATE prepared a repair estimate which did not account for all of the

covered damages. Further, even the damages that were accounted for were vastly under-scoped.

Thus, Defendant ALLSTATE demonstrated it did not conduct a thorough investigation of the

claim.

         6.8   Defendant ALLSTATE failed to fairly evaluate and adjust the SALAZARS'

claim as they are obligated to do under the Policy and Texas law. By failing to properly

investigate the claim and wrongfully denying full coverage to the SALAZARS, ALLSTATE

engaged in unfair settlement practices by misrepresenting material facts to the SALAZARS.

         6.9   Defendant ALLSTATE failed to perform its contractual duty to adequately

compensate the SALAZARS 1 nder the terms of the Policy. Specifically, Defendant ALLSTATE



PLAINTIFFS' ORIGINAL PETITION                                                              PAGE -3-
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failed and refused to properly pay proceeds for the Policy, although due demand was made for

proceeds to be paid in an amount sufficient to cover the damaged property, and all conditions

precedent to recovery upon the Policy had been carried out and accomplished by the

SALAZARS. Defendant ALLSTATE's conduct constitutes a material breach of the insurance

contract.

       6.10 Defendant ALLSTA         E   misrepresented to the SALAZARS that the damage to the

Property was not covered under the Policy, even though the damage was caused by a covered

peril. Defendant's conduct constitutes a violation of the Unfair Settlement Practices specified in

Tex. Ins. Code § 541.060(a)(1).

       6.11 Defendant ALLSTATE's repair estimate under-scoped the covered damages and

misrepresented the benefits under the Policy, which promised to pay the amount of loss to the

SALAZARS. Defendant's conduct constitutes a violation of the Misrepresentation Regarding

Policy or Insurer section specified in Tex. Ins. Code § 541.051(1)(B).

       6.12 Defendant ALLSTATE, failed to make an attempt to settle the SALAZARS'

claims in a prompt and fair manner, although they were aware of its liability to the SALAZARS

was reasonably clear under the Policy. Defendant's conduct constitutes a violation of the Unfair

Settlement Practices specified in Tex. Ins. Code § 541.060(a)(2)(A).

        6.13 Defendant ALLSTATE failed to explain to the SALAZARS why full payment

was not being made. Furthermore, Defendant did not communicate that future payments would

be forthcoming to pay for the entire losses covered i nder the Policy, nor did Defendant provide

any explanation for the failure to adequately settle the SALAZARS' claims, in violation of Tex.

Ins. Code § 541.060(a)(3).




PLAINTIFFS' ORIGINAL PETITION                                                             PAGE -4-
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       6.14 Defendant ALLSTATE failed to affirm or deny coverage of the SALAZARS'

claim within a reasonable time. Specifically, the SALAZARS did not receive timely indication

of acceptance or rejection, regarding the full and entire claim, in writing from Defendants.

Defendant's conduct constitutes a violation of the Unfair Settlement Practices specified in Tex.

Ins. Code § 541.060(a)(4).

       6.15 Defendant ALLSTATE refused to fully compensate the SALAZARS under the

terms of the Policy, even though Defendant failed to conduct a reasonable investigation.

Specifically, Defendant ALLSTATE performed a results/outcome-oriented investigation of

Plaintiffs' claim, which resulted in a biased, unfair and inequitable evaluation of the

SALAZARS' losses to the Property. Defendant's conduct constitutes a violation of the Unfair

Settlement Practices specified in Tex. Ins. Code § 541.060(a)(7).

       6.16 Defendant ALLSTATE misrepresented the insurance policy sold to the

SALAZARS by (1) making an untrue statement of material fact regarding coverage; (2) failing

to state a material fact necessary to make other statements made not misleading, considering the

circumstances under which the statements were made; (3) making a statement in a manner that

would mislead a reasonably prudent person to a false conclusion of a material fact regarding

coverage; (4) making a material misstatement of law; and/or (5) failing to disclose a matter

required by law to be disclosed, including failing to make a disclosure in accordance with

another provision of the Texas Insurance Code, in violation of Section 541.061 of the same.

       6.17 Defendant ALLSTAIE failed to meet its obligation under the Texas Insurance

Code regarding timely acknowledging Plaintiffs' claim, beginning an investigation of the

SALAZARS' claim, and requesting all information reasonably necessary to investigate the




PLAINTIFFS' ORIGINAL PETITION                                                            PAGE -5-
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SALAZARS' claim within the statutorily mandated deadline. Defendant's conduct constitutes a

violation of the Prompt Payment of Claims subchapter specified in Tex. Ins. Code § 542.055.

       6.18 Defendant ALLSTATE failed to accept or deny the SALAZARS' full and entire

claim within the statutory mandated deadline of receiving all necessary information.

Defendant's conduct constitutes a violation of the Prompt Payment of Claims subchapter

specified in Tex. Ins. Code § 542.056.

       6.19 Defendant ALLSTATE failed to meet its obligations under the Texas Insurance

Code regarding payment of claims without delay. Specifically, Defendant has delayed full

payment of Plaintiffs' claim longer than allowed and, to date, the SALAZARS have not yet

received full payment for their claim. Defendant's conduct constitutes a violation of the Prompt

Payment of Claims subchapter specified in Tex. Ins. Code § 542.058.

       6.20 From the point in time the SALAZARS' claim was presented to Defendant

ALLSTATE, the liability of Defendant to pay the full claim in accordance with the terms of the

Policy was reasonably clear. However, Defendant ALLSTATE has refused to pay the

SALAZARS in full, despite there being no basis whatsoever on which a reasonable insurance

company would have relied to deny the full payment. Defendant's conduct constitutes a breach

of the common law duty of good faith and fair dealing.

       6.21 As a result of Defendant's wrongful acts and omissions, the SALAZARS were

forced to retain the professional services of the attorney and law firm who are representing the

SALAZARS with respect to these causes of action. On or about August 12, 2016, the

SALAZARS' counsel sent a letter of representation requesting various documents related to the

storm(s).




PLAINTIFFS' ORIGINAL PETITION                                                           PAGE -6-
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       6.22 On or about October 7, 2016, the SALAZARS' counsel sent a Texas Deceptive

Trade Practices Act ("DTPA") and Texas Insurance Code Notice and Demand letter the

Defendant. The letter informed Defendant of potential violations under the DTPA and Insurance

Code related to its handling and adjusting of Plaintiffs' claim and potential claims, including

attorney's fees, statutory penalty interest, and additional damages arising from those violations.

The Notice and Demand letter provided Defendant with the statutorily mandated sixty days to

respond, and an opportunity to resolve the claim without extended litigation costs. Defendant

acknowledged the letter, then maintained its previous claims stance and denied the Demand in its

entirety in a letter to the SALAZARS' counsel dated December 1, 2016; satisfying the statutory

requirement that Defendants either deny a DTPA and Insurance Code Demand or be allotted a

sixty-day time period to attempt to resolve the claim before a Petition is to be filed.

       6.23 To date, Defendant ALLSTATE has failed to and refused to pay the SALAZARS

for the proper repair of the property. The SALAZARS' experience is not an isolated case. The

acts and omissions of Defendants committed in this case, or similar acts and omissions, occur

with such frequency that they constitute a general business practice of Defendants with regard to

handling this type of claim. Defendants' entire process is unfairly designed to reach favorable

outcomes for the company at the expense of the policyholder.

                                           VII. COUNTS

        7.1    Plaintiffs incorporate by reference all facts, statements, and allegations set forth in

all previous paragraphs, as if set forth in full in each cause of action that follows.

        7.2    COUNT 1— BREACH OF CONTRACT

               a.       At the time of the loss, Plaintiffs had valid, enforceable insurance contract

        in place, issued by Defendant (the "Policy"). Plaintiffs were the insureds of the contract.



PLAINTIFFS' ORIGINAL PETITION                                                                 PAGE -7-
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       Plaintiffs fully perfoi lied their contractual obligations by making premium payments as

       required by the insurance contract, and at all times complied fully with all material

       provisions of the Policy.

                 b.    According to the Policy that Plaintiffs purchased, Defendant ALLSTATE

       had the duty to investigate and pay Plaintiffs' policy benefits for claims made for covered

       damages, including additional benefits under the Policy, resulting from the damages. As

       a result of these damages, which result from covered perils under the Policy, the

       Plaintiffs' home has been damaged.

                 c.    Defendant ALLSTATE's failure to properly investigate and refusal, as

       described above, to pay the adequate compensation as it is obligated to do under the

       terms of the Policy in question and under the laws of the State of Texas, constitutes a

       material breach of Defendant ALLSTATE's contract with Plaintiffs. As a result of this

       breach of contract, Plaintiffs have suffered the damages that are described in this Petition,

       the producing cause of which is Defendant's actions.

        7.3      COUNT 2 — PROMPT PAYMENT OF CLAIMS; VIOLATION OF TEXAS
                          INSURANCE CODE §542, ET SEQ.

                 a.    Under the Texas Insurance Code, Defendant ALLSTATE had a duty to

       investigate and pay Plaintiffs' claim under the Policy in a timely manner. Defendant

       ALLSTATE violated Chapter 542 of the Texas Insurance Code by not timely:

       (1) commencing its investigation of the claim; (2) requesting information needed to

       investigate the claim; (3) communicating with its insured regarding the status of its

       investigation, including failing to accept or reject Plaintiffs' claim in writing within the

       statutory timeframe; (4) conducting its investigation of the claim; and (5) paying the

        claim.


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               b.      All of the above-described acts, omissions, and failures of Defendant are a

       producing cause of Plaintiffs' damages that are described in this Petition. Defendant

       ALLSTATE is therefore liable under Chapter 542 for penalty interest at the rate set forth

       in the statute, and attorney's fees taxed as costs of this suit.

               c.      Additionally, if it is determined Defendant ALLSTATE owes Plaintiffs

       any additional money on Plaintiffs' claim, then Defendant has automatically violated

       Chapter 542 in this case.

       7.4     COUNT 3— UNFAIR INSURANCE PRACTICES; VIOLATION OF
                        TEXAS INSURANCE CODE § 541, ET SEQ.

               a.      As an insurer, Defendant ALLSTA1E owes statutory duties to Plaintiffs

       as its insured. Specifically, the Texas Insurance Code prohibits Defendant ALLSTATE

       from engaging in any unfair or deceptive act or practice in the business of insurance.

               b.      By its acts, omissions, failures, and conduct, Defendant ALLSTATE has

       engaged in unfair and deceptive acts or practices in the business of insurance in violation

       of 541 of the Texas Insurance Code. Such violations include, without limitation, all the

       conduct described in this Petition, plus Defendant's unreasonable delays and under-

       scoping in the investigation, adjustment, and resolution of the Plaintiffs' claim, plus

       Defendant's failure to pay for the proper repair of the Plaintiffs' home on which liability

       had become reasonably clear. They further include Defendant's failure to give Plaintiffs

       the benefit of the doubt. Specifically, Defendant ALLSTATE are guilty of the following

       unfair insurance practices:

                        i.      Misrepresenting to Plaintiffs pertinent facts or policy provisions

                relating to the coverage at issue;




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                                Failing to attempt in good faith to effectuate a prompt, fair, and

               equitable settlement of claim submitted in which liability had become reasonably

               clear;

                                Failing to provide promptly to a policyholder a reasonable

               explanation of the basis in the insurance policy in relation to the facts or

               applicable law for the denial of a claim or for the offer of a company's settlement;

                        iv.     Failing to affirm or deny coverage of Plaintiffs' claim within a

               reasonable time;

                        v.      Refusing to pay Plaintiffs' claim without conducting a reasonable

               investigation with respect to the claim; and

                        vi.     Misrepresenting the insurance policy sold to Plaintiffs by (1)

               making an untrue statement of material fact regarding coverage; (2) failing to

               state a material fact necessary to make other statements made not misleading,

               considering the circumstances under which the statements were made; (3)

               making a statement in a manner that would mislead a reasonably prudent person

               to a false conclusion of a material fact regarding coverage; (4) making a material

               misstatement of law; and/or (5) failing to disclose a matter required by law to be

               disclosed, including failing to make a disclosure in accordance with another

               provision of the Texas Insurance Code.

               c.       Defendant ALLSTATE has also breached the Texas Insurance Code when

       it breached its duty of good faith and fair dealing. Defendant's conduct as described

       herein has resulted in Plaintiffs' damages that are described in this Petition.




PLAINTIFFS' ORIGINAL PETITION                                                              PAGE -10-
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               d.      All of the above-described acts, omissions, and failures of Defendant are a

       producing cause of Plaintiffs' damages that are described in this Petition, and were done

       knowingly and/or intentionally as that term is used in the Texas Insurance Code.

       7.5     COUNT 4— DTPA; VIOLATIONS OF TEXAS BUSINESS AND
                       COMMERCE CODE § 17.46, ET SEQ.

               a.      Plaintiffs are individuals who sought and acquired a good, the Policy that

       is the subject of the suit, by purchase, from the Defendant. They also sought and

       acquired the service and adjustment of claims under that policy, a service that was

       "furnished in connection with the sale or repair of goods", as defined by the DTPA. This

       qualifies Plaintiffs as consumers of goods and services provided by Defendant as defmed

       by the Texas Deceptive Trade Practices Act ("DTPA"), codified under Chapter 17 of the

       Texas Business and Commerce Code. The Plaintiffs have met all conditions precedent to

       bringing this cause of action against Defendants. Specifically, Defendant's violations of

       the DIVA include without limitation, the following matters.

               b.      By its acts, omissions, failures, and conduct that are described in this

       Petition, Defendant ALLSTATE has committed false, misleading, or deceptive acts or

       practices in violation of § 17.46(b)(2), (3), (5), (7), (11), (12), (13), (20), and (24) of the

       D IPA. In this respect, Defendant's violations include without limitation:

                       i.       Unreasonable delays in the investigation, adjustment and

               resolution of Plaintiffs' claim, during which Defendant employed a series of

               alleged "independent adjusters" under the control of Defendant, that caused

                confusion to Plaintiffs as to whom was representing whom, and had whose best

               interests in mind. This gives Plaintiffs the right to recover under Section

                17.46(b)(2) and (3) of the DTPA;


PLAINTIFFS' ORIGINAL PETITION                                                                PAGE -11-
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                                As described in this Petition, Defendant represented to Plaintiffs

               that the insurance policy and Defendant's adjusting and investigative services had

               characteristics, uses, or benefits that it did not have, which gives Plaintiffs the

               right to recover under Section 17.46(b)(5) of the DTPA;

                                As described in this Petition, Defendant represented to Plaintiffs

               that the insurance policy and Defendant's adjusting and investigative services

               were of a particular standard, quality, or grade when they were of another in

               violation of Section 17.46(b)(7) of the DTPA;

                       iv.      As described in this Petition, Defendant represented to Plaintiffs

               that the insurance policy and Defendant's adjusting and investigative services

               conferred or involved rights, remedies, or obligations that it did not have, which

               gives Plaintiffs the right to recover under Section 17.46(b)(12) of the DIVA;

                       v.       Defendant knowingly made false or misleading statements of fact

               concerning the need for replacement of roofing systems, which gives Plaintiffs the

               right to recover under Section 17.46(b)(13) of the DTPA;

                       vi.      Defendant breached an express and / or implied warranty that the

               damage caused by the subject storm(s) would be covered under the insurance

               policies. This entitles the Plaintiffs to recover under Sections 17.46(b)(12) and

               (20) and 17.50(a)(2) of the D1PA;

                        vii.    Defendant failed to disclose information concerning the insurance

               policy which was known at the time of the transaction where the failure to

               disclose such information was intended to induce the Plaintiffs into a transaction

               into which the Plaintiffs would not have entered had the information been



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               disclosed. This gives Plaintiffs the right to recover under Section 17.46(b)(24) of

               the DTPA;

                       viii.    Defendant's actions, as described in this Petition, are

               unconscionable in that it took advantage of Plaintiffs' lack of knowledge, ability,

               and experience to a grossly unfair degree. Defendant's unconscionable conduct

               gives Plaintiffs the right to relief under Section 17.50(a)(3) of the DTPA; and

                       ix.      Defendant's conduct, acts, omissions, and failures as described in

               this Petition, are unfair practices in the business of insurance in violation of

               Section 17.50(a)(4) of the DTPA, under which violations of Chapter 541 of the

               Texas Insurance Code are an enabling statute.

               c.      All of the above-described acts, omissions, and failures of Defendant are a

       producing cause of Plaintiffs' damages that are described in this Petition. All of the

       above-described acts, omissions, and failures of Defendant were done knowingly and

       intentionally, as those terms are used and defined in the Texas Deceptive Trade Practices

       Act.

       7.6     COUNT 5— BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING

               a.      By its acts, omissions, failures, and conduct, Defendant has breached its

       common law duty of good faith and fair dealing by failing to pay the proper amounts on

       Plaintiffs' entire claim without any reasonable basis, and by failing to conduct a

       reasonable investigation to determine whether there was a reasonable basis for this

       denial. Defendant has also breached this duty by unreasonably delaying payment of

       Plaintiffs' entire claim, and by failing to settle Plaintiffs' entire claim because Defendant

       knew or should have known that it was reasonably clear that the claim was covered.



PLAINTIFFS' ORIGINAL PETITION                                                              PAGE -13-
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       These acts, omissions, failures, and conduct of Defendant are a proximate cause of

       Plaintiffs' damages.

        7.7     COUNT 6 — MISREPRESENTATION

                a.     Defendant ALLSTATE is liable to Plaintiffs under the theories of

        intentional misrepresentation, or in the alternative, negligent misrepresentation.

        Defendant ALLSTATE did not inform Plaintiffs of certain exclusions in the policy.

        Misrepresentations were made by Defendant ALLSTATE or its agents, with the intention

        that they should be relied upon and acted upon by Plaintiffs, who relied on the

        misrepresentations to their detriment. As a result, Plaintiffs have suffered damages,

        including but not limited to loss of the Property, loss of use of the Property, mental

        anguish and attorney's fees. Defendant ALLSTATE is liable for these actual

        consequential and penalty-based damages.

                                VIII. WAIVER AND ESTOPPEL

        8.1     Defendant is waived and is estopped from asserting any coverage defenses,

conditions, exclusions, or exceptions to coverage not contained in any reservation of rights letter

to the Plaintiffs.

                           IX. DAMAGES / CLAIMS FOR RELIEF

        9.1     All the damages described and sought in this Petition are within the jurisdictional

limits of the Court and exceed an aggregate amount of monetary relief over $100,000 but not

more than $200,000.

        9.2     The above described acts, omissions, failures, and conduct of Defendants caused

Plaintiffs' damages, which include, without limitation, (1) the cost to properly repair Plaintiffs'

home, (2) any investigative and engineering fees incurred by Plaintiffs, (3) court costs, and (4)



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attorney's fees. The Plaintiffs are entitled to recover consequential damages from Defendants'

breach of contract. The Plaintiffs are also entitled to recover the amount of Plaintiffs' claim plus

an 18% per annum penalty on that claim against Defendants as damages under Chapter 542 of

the Texas Insurance Code, plus prejudgment interest.

       9.3     Defendant has also "knowingly" and "intentionally" committed deceptive trade

practices and unfair insurance practices as those terms are defined in the applicable statutes.

Because of Defendant's knowing and intentional misconduct, Plaintiffs are entitled to additional

damages as authorized by Section 17.50(b)(1) of the DTPA, which allows recovery of up to three

times economic damages. Where there is an enabling statute for the DTPA, as there is here with

the Texas Insurance Code, Plaintiffs are entitled to recovery of up to three times actual damages.

Plaintiffs are further entitled to the additional damages that are authorized by Chapter 541 of the

Texas Insurance Code.

       9.4     Defendant's breach of its duty of good faith and fair dealing owed to Plaintiffs

was done intentionally, with a conscious indifference to the rights and welfare of Plaintiffs, as

defined in Chapter 41 of the Texas Civil Practice and Remedies Code. These violations by

Defendant are the type of conduct which the State of Texas protects its citizens against by the

imposition of exemplary damages. Therefore, Plaintiffs seek the recovery of exemplary damages

in the amount to be determined by the finder of fact that is sufficient to punish Defendant for its

wrongful conduct and to set an example to deter Defendant and others similarly situated from

committing similar acts in the future.

                                    X. ATTORNEY'S FEES

       10.1 As a result of Defendant's conduct that is described in this Petition, Plaintiffs

have been forced to retain the undersigned law firm and attorney to prosecute this action, and has



PLAINTIFFS' ORIGINAL PETITION                                                              PAGE -15-
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agreed to pay reasonable attorney's fees. Plaintiffs are entitled to recover these attorney's fees

under Chapter 38 of the Texas Civil Practice and Remedies Code, Chapters 541 and 542 of the

Texas Insurance Code, and Section 17.50 of the DIVA.

                                        XI. DISCOVERY

       11.1 Under Texas Rule of Civil Procedure 194, the Defendant is requested to disclose

within fifty (50) days of service of this request, the information of material described in Texas

Rule of Civil Procedure 194.2(a) through (1). Plaintiffs' Requests for Disclosure, Requests for

Production, Interrogatories, and Requests for Admissions are attached, for service at the time of

service of this Petition, and incorporated herein by reference.

                                      XH. JURY DEMAND

       12.1 Plaintiffs demand a jury trial and tenders the appropriate fee with this Petition.

                                         XHI. PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs LUIS SALAZAR and MARIA

SALAZAR pray that Defendant ALLSTATE TEXAS LLOYD'S be cited to appear and answer

herein, and that upon trial hereof, said Plaintiffs have and recover such sums as would

reasonably and justly compensate Plaintiffs in accordance with the rules of law and procedure, as

to economic damages, actual damages, consequential damages, statutory penalty interest, treble

damages under the Texas Deceptive Trade Practices Act and Texas Insurance Code, and all

punitive and exemplary damages as may be found. In addition, Plaintiffs request the award of

attorney's fees for the trial and any appeal of this case, for all costs of court, for prejudgment and

post-judgment interest, at the highest rate allowed by law, and for any other and further relief, at

law or in equity, to which Plaintiffs may show themselves to be justly entitled.




PLAINTIFFS' ORIGINAL PETITION                                                                PAGE -16-
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                                       Respectfully submitted,

                                       THE CORONA LAW FIRM, PLLC


                                       By: /5/ Jesse S. Corona

                                       Jesse S. Corona
                                       Texas Bar No. 24082184
                                       Southern District Bar No. 2239270
                                       521 N Sam Houston Pkwy E, Ste. 420
                                       Houston, Texas 77060
                                       Office: 281.882.3531
                                       Facsimile: 713.678.0613
                                       Jesse@theCoronaLawfirm.com

                                       ATTORNEY FOR PLAINTIFFS




PLAINTIFFS' ORIGINAL PETITION                                          PAGE -17-
                  Case 4:17-cv-00191 Document 1-2 Filed in TXSD on 01/20/17 Page 21 of 26
                                                                                                                                               12/6/2016 4:01:50 PM
                                                         CIVIL CASE INFORMATION SHERI' (REV. 2/131                                             Chris Daniel - District Clerk
                                                                                                                                               Harris County
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              STYLED    Luis Salazar, Ma                 Qa#111744k9S§§14xg9SA:                                                                Filed: 12/6/2016 4:01:50
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                                [e.g., John Smith v. MI American Insurance Co: In re Mary-Ann Jones: In the Matter of Estate or Geonte Jackson)
A civil. ease int-mutation Sited must he.completed and submitted when an original petition or application is filed to initiate a new civil family law, probate, or Mental
health case or when a past-judgment petition Rir modification or motion for enforcement is tiled in a family law case. The infomtation should be the best available at
the time of tiling.
I. Contact Information for person completing case Information sheet:            Names of parties in case:                                      Person or entity completing sheet is:
                                                                                                                                                Attorney for Plaintiff/Petitioner
                                                                                Plaintifits)/Pctitioner(s):                                  OPro Sc PlaintiftPetitioner
Name: Jesse S.                  jesse tnecoronalawfvrm.com                                                                                   OTitle IV-D Agency
           Corona              cneely@thecoronalawfirm.com                       Luis Salazar, Maria Salazar                                 ClOther,


Address' 521 N. Sam                      Telephone:
                                                                                                                                              Additional Parties in Child Support Case:
        Houston Pkwy.                      (281) 88273531
           B, Sfe7420                                                            Detendant(s)/Respondent(s):                                 Custodial Parent:
City/State/Zip:                          Fax;
                                                                                 Allstate Texas Lloyd's
 Houston, Texas         77060                   (713) 678-0613                                                                                Non-Custodial Parent:

                                         State Bar No:
                                                                                                                                              Presumed Father
                                            24082184
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2. Indicate case type, or identify the most Important Issue in the case (sded only IA
                                                Civil                                                                                             Family Law
                                                                                                                                                            Pest-judgment Actions
            Contract                      Injury or. Damage                     Real Property:                       Marriage Relationship                     (non-Title IV-D)
DebtiContract                       ClAasaultiElattely                   oEminent Domain/                           0 Annulment                           0 Enforcement
  INConsumer1DTPA                   °Construction                           Condemnation                            ODcclare Marriage Void                °Modification—Custody
   0 Debt/Contract                  ODefamat ion                         0 Partition                                Divorce                               OMOdification--other
   0 FraudiMiimpresentation         Malpractice                          °Quiet Title                                   0 With Children                            Title IV-D
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                                      0Legal                             00ther Property:                                                                 OPatemity
Foreclosure                           OMedical                                                                                                            °Reciprocals (UIFS A )
  0Home Equity—Expedited              00ther Professional                                                                                                 0Suppon Order
   00ther Foreclosure                    Liability:
0Franchise                                                                   Related to Criminal
Olnsurance                          0Motor Vehicle Accident                        Matters                              Other Family Law                    Parent-Child Relationship
0 Landlord/Tenant                   0 Premises                           O Expunction                                0 Enforce Foreign                    OAdoption/Adoption with
ONon-Competition                    Product Liability                    I:Judgment Nisi                                Judgment                             Termination
OPartnership                          0AsbcstosiSilica                   ONun-Disclosure                             Oilabeas Corpus                      OChild Protection
00ther Contract:                      00ther Product. Liability          OSeizure/Forfeiture                         OName Change                         ['Child Support
                                         List Product.                   OWrit of Habeas Corpus—                     OProtective Order                    OCustody or Visitation
                                                                            Pre-indictment                           ORemoval of Disabilities             OGestational Parenting
                                    00ther Injury or Damage:             °Other;                                        of Minority                       OGiundparcnt Access
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          Employment                                            Other Civil
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ODiscritnination                     OAchninistrative Appeal             Olowyer Discipline
0Retaliation                         0Antitrust'Unfair                   OPespetuate Testimony
°Termination                            Competition                      OSeeurithz/Stock
0Workers' Coinpensation              ClCode Violations                   OTortious Interference
°Other Employment:                   OForeign Judgment                   00ther.
                                     O intellectual Property


            Tax                                                                            Probate & Mental Health
 OTax Appraisal                       Probateilrills/Intestate Administration                                CIGuardianship—Adult
 °Tax Delinquency                       0 Dependent Administration                                           OGuardianship— Minor
 00ther Tax                             I:Independent Administration                                         0 Mental Health
                                        °Other Estate Proceedings                                            00ther


3. Indicate prOcedure or remedy If applicable (may sehai more than I):
 0Appeal from Municipal or Justice Court              ODeclaratory Judgment                                                      OPrejudgment Remedy
 °Arbitration-related                                 °Garnishment                                                               OProtective Order
 °Attachment                                          ClIntetplinider                                                            ['Receiver
 0 Bill of Review                                     0 License                                                                  ['Sequestration
 OCeniarari                                           I:Mandamus                                                                 OTemporary Restraining Orderinjunction
 °Class Action                                        0 Post-judgment                                                            0Turnover
4. Indicate damages sought (do not select lilt k afamlip law case):
 OLess than S100,000, including damages of any kind. penalties, costs, expenses, pre-judgment interest, and attorney fees
 0 Lest than S100,000 and non-traMetary relief
 agOver $1.00, 000 but not more than 5200,000
 °Over $200,000 but not more than S1,000,000
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Case 4:17-cv-00191 Document 1-2 Filed in TXSD on 01/20/17 Page 22 of 26

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                              HARRIS COUNTY DISTRICT CLERK
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Case 4:17-cv-00191 Document 1-2 Filed in TXSD on 01/20/17 Page 23 of 26
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   PLAINTIFF: SALAZAR, LUIS                                                                    In The 333rd
                 VS.                                                                           Judicial District Court
  DEFENDANT: ALLSTATE TEXAS LLOYDS                                                             of Harris County, Texas
                                                                                               333RD DISTRICT COURT
                                                                                               Houston, TX
                                                               CITATION
  THE STATE OF TEXAS
  County of Harris


  TO: ALLSTATE TEXAS LLOYDS MAY BE SERVED BY SERVING ITS REGISTERED AGENT
       CT CORPORATION SYSTEM
       OR WHEREVER IT MAY BE FOUND
       1999 BRYAN STREET SUITE 900 DALLAS TX 75201 - 3136
       Attached is a copy of PLAINTIFF'S ORIGINAL PETITION

  This instrument was filed on the 6th day of December. 2016, in the above cited cause number
  and court. The instrument attached describes the claim against you. •

       YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorney do not file a
  written answer with the District Clerk who issUed this citation by 10:00 a.m on the Monday
  next following the expiration of 20 days after you were served this citation and petition,
  a default judgment may be taken against you.
  TO OFFICER SERVING:
        This citation was issued on 12th day of December, 2016, under my hand and
  seal of said Court.


  Issued at reauest of:
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                                                                            CHRIS DANIEL, District Clerk
  CORONA, JESSE S.                                                          Harris County, Texas
  521 N SAM HOUSTON PRWY E.                                                 201 Caroline, Houston, Texas 77002
  SUITE 420                                                                 (P.O. Box 4651, Houston, Texas 77210)
  HOUSTON, TX 77060
  Tel: (281) 882-3531                                              Generated By: RICHARDSON, SHANIECE J
  par No.: 24082184                                                A4L//10556795

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                       Affiant                                                                  Deputy

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 signature appears on the foregoing return, personally appeared. After being by me duly sworn,
 he/she stated that this citation was executed by him/her in the exact manner recited on the
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Case 4:17-cv-00191 Document 1-2 Filed in TXSD on 01/20/17 Page 24 of 26




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          Dallas, Texas 75201-3136




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                                                 CAUSE NO. 2016-83965

LUIS SALAZAR AND MARIA                                                              IN THE DISTRICT COURT OF
SALAZAR

          Plaintiffs,
                                                                                    HARRIS COUNTY, TEXAS
vs.

ALLSTATE TEXAS LLOYD'S

          Defendant.                                                                333rd JUDICIAL DISTRICT

                         DEFENDANT ALLSTATE TEXAS LLOYD'S
                  ORIGINAL ANSWER TO PLAINTIFFS' ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

          COMES NOW, Allstate Texas Lloyd's ("Defendant"), and files this Original Answer to

Plaintiffs' Original Petition and would respectfully show the following:

                                                          I.
                                                    GENERAL DENIAL

          Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally denies each

and every, all and singular, the allegations contained within Plaintiffs' Original Petition, and

demands strict proof thereon by a preponderance of the credible evidence in accordance with the

Constitution and laws of the State of Texas.

                                                              IL
                                                            PRAYER

          WHEREFORE, PREMISES CONSIDERED, Defendant Allstate Texas Lloyd's prays

that upon final trial and hearing hereof, Plaintiffs recover nothing from Defendant, but Defendant

goes hence without delay and recovers costs of court and other such further relief, both general

and special, to which Defendant may be justly entitled.




Defendant Allstate Texas Lloyd's Original Answer to Plaintiffs' Original Petition                                     Page 1
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   Case 4:17-cv-00191 Document 1-2 Filed in TXSD on 01/20/17 Page 26 of 26




                                                              Respectfully submitted,


                                                              /s/ Roger D. Higgins
                                                              Roger D. Higgins          State Bar No. 09601500
                                                              Vanessa A. Rosa           State Bar No. 24081769

                                                              THOMPSON, COE, COUSINS & IRONS, L.L.P.
                                                              Plaza of the Americas
                                                              700 N. Pearl Street, Twenty-Fifth Floor
                                                              Dallas, Texas 75201-2832
                                                              Telephone: (214) 871-8200
                                                              Telecopy: (214) 871-8209
                                                              rhigginsathompsoncoe. coin
                                                              vrosa@thompsoncoe.com

                                                              ATTORNEYS FOR DEFENDANT
                                                              ALLSTATE TEXAS LLOYD'S



                                             CERTIFICATE OF SERVICE

       This is to certify that on January 13, 2017, a true and correct copy of the foregoing was
delivered to the following counsel for Plaintiffs by electronic service:

          Jesse S. Corona
          The Corona Law Fii iii, PLLC
          521 N. Sam Houston Pkwy E, Ste. 420
          Houston, TX 77060
          Jesse@theCoronaLawfirm.com


                                                              /s/Vanessa Rosa
                                                              Vanessa Rosa




Defendant Allstate Texas Lloyd's Original Answer to Plaintiffs' Original Petition                        Page 2
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